Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 1 of 15 PageID #: 6
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 2 of 15 PageID #: 7
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 3 of 15 PageID #: 8
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 4 of 15 PageID #: 9
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 5 of 15 PageID #: 10
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 6 of 15 PageID #: 11
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 7 of 15 PageID #: 12
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 8 of 15 PageID #: 13
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 9 of 15 PageID #: 14
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 10 of 15 PageID #: 15
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 11 of 15 PageID #: 16
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 12 of 15 PageID #: 17
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 13 of 15 PageID #: 18
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 14 of 15 PageID #: 19
Case 1:21-cv-01190-MN Document 2 Filed 08/19/21 Page 15 of 15 PageID #: 20
